        Case 1:21-cr-00046-RDM Document 54-1 Filed 08/06/21 Page 1 of 2




                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530

                                                   August 6, 2021

Dani Jahn, Esq.
Brent Mayr, Esq.
Ronald Sullivan, Esq.
Camille Wagner, Esq.
Via Email

        Re:     United States v. Patrick Montgomery and Brady Knowlton
                Case No. 21-cr-46

Dear Counsel:

        On August 6, 2021, we uploaded additional discovery materials to a new case folder in
USAFx. The link to the materials is here:
https://usafx.box.com/s/n60e02woqyf4o8xe9akdutygexn8kljn

        Specifically, we uploaded 26 videos, mostly from U.S. Capitol Police CCTV:

    •   7029 USCS 02 Rotunda Door Interior-2021-01-06_14h36min41s000ms
    •   7029 USCS 02 Rotunda Door Interior - 2021-01-06_19h35min54s
    •   7216 USCH 02 Rotunda Lobby East Stairs - 2021-01-06_19h38min38s
    •   7218 USCH 03 Gallery Stairs-2021-01-06_14h39min50s000ms
    •   0686 USCH 02 Rotunda Door Interior - 2021-01-06_19h37min05s
    •   0204 USCS 02 Room 224 - 2021-01-06_19h40min01s
    •   0205 USCS 02 West Stairs near S221 - 2021-01-06_19h40min01s
    •   GP010391
    •   CAP04_000016130
    •   2021_01_06_ISOCAM5_SENFL_1
    •   2021_01_06_ISOCAM6_SENFL_1
    •   Movies & TV 2021-04-23 10-26-46
    •   CAP04_000015718
    •   CAP04_000015713
           Case 1:21-cr-00046-RDM Document 54-1 Filed 08/06/21 Page 2 of 2




       •   CAP04_000015711
       •   CAP04_000015672
       •   CAP04_000015712
       •   -1553269707567464026
       •   CAP04_000015235
       •   CAP04_000015230
       •   CAP04_000015229
       •   CAP04_000015228
       •   0303USCS03SenateGallerySEnearS309_2021-01-06_14h34min02s513ms
       •   0304 USCS 03 Senate Gallery SW near S324 - 2021-01-06_19h40min02s
       •   0304 USCS 03 Senate Gallery SW near S324 - 2021-01-06_20h00min02s
       •   0303 USCS 03 Senate Gallery SE near S309-2021-01-06_14h41min53s000ms

We also uploaded 13 Metropolitan Police Department body-worn camera videos along with a
roster of officers who were associated with Officer D.H.’s CDU on January 6, 2021:

   •       Combined Roster - Hodges - CDU - 42 - Squad 1
   •       Duckett - 20210106-FELONYRIOT-FIRSTSTSE
   •       Hodges, Daniel - 20210106_-_Rioting_-_United_States_Capitol_Building
   •       Hackerman_Clip_2_1__20210106-FELONYRIOT-FIRSTSTSE
   •       20210107-FIRST_AMENDMENT-US_CAPTIAL – Whelan
   •       20210106_-_FIRST_AMENDMENT_-_US_CAPITOL - Curtice – Chaos
   •       20210106-_Felony_Riots-_First_St_SE – Chasten
   •       20210106-FELONYRIOT-US_CAPITOL_NW – Ishakwue
   •       Assault_on_a_Police_Officer – Stokes
   •       20210106_-_Rioting_-_United_States_Capitol_Building Hodges
   •       20210106_-_FELONY_RIOT_-_US_CAPITOL - Shipmon II
   •       20210106_-_FIRST_AMENDMENT_-_FIRST_ST_SE_Boyle
   •       20210106_-_FELONY_RIOT_-_US_CAPITOL – Shipmon
   •       20210106-FELONYRIOT-FIRSTSTSE - Peake

This material is subject to the terms of the Protective Order issued in this case.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,



                                                      Elizabeth Kelley
                                                      Assistant United States Attorney

                                                  2
